
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-03-334-CR





CHRISTI M. LAWSON &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;						APPELLANT



V.

THE STATE OF TEXAS	STATE

----------

FROM 
COUNTY CRIMINAL COURT NO. 1 OF DENTON COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered appellant's “Notice Of Withdrawal Of Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 
Tex. R. App. P.
 43.2(f).



PER CURIAM

PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: October 16, 2003		

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




